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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE USJUL|S AH[h

WESTERN DIVISION l7
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UNITED STATES OF AMERICA, WMOI_'TNMEMPHS
Plaintiff,
V. CRIMINAL NO. CR-O3_20212

WAYNE P. EDMONDSON

Defendant.

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DEFENDANT'§ MoTIoN To EXTEND TIME
To REPORT To DESIGNATED INSTITUTION s

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Comes now the defendant, Wayne P. Edmondson, through his
counsel of record, Samuel L. Perkins, and respectfully moves the
court to be allowed additional time to report to the designated
institution to serve his sentence.

The defendant would show that he was sentenced on March 18,
2005, to twenty-one (21) months imprisonment, following his
guilty plea on December 13, 2004, for unlawful sale of firearms.
At the sentencing hearing, the court permitted the defendant to
remain on bond and report on his own to the designated facility
when notified. The defendant filed his notice of appeal on March
25, 2005.

The notice of prisoner designation was filed on June 21,

2005, and on June 23, the court entered an order of surrender

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Penitentiary at McCleary, 330 Federal Way, Pine Knot, Kentucky by
2:00 p.m. on July 15, 2005.

The defendant lives in Bushnell, Florida, which is a
considerable distance from the Kentucky facility. He is in the
process of transferring numerous articles of personal property
from his home to Spartanburg, South Carolina, where he has
relatives who have agreed to take care of this property during
his time of incarceration. He lives alone, and has been
burglarized in the past and has suffered great loss as a result.
He feels that this transfer is necessary in order to protect his
property. Because his funds are limited to a modest V.A pension,
it has taken him quite a while to make the proper arrangements to
have the property sent to South Carolina.

As a further reason for the delay in reporting, the
defendant would show that he has been assigned to a primary care
provider, Barbara Allheit, at the Nashville, Tennessee, V.A.
Hospital. He is presently waiting on prescriptions which are
needed to treat numerous physical problems.

Based upon the foregoing, the defendant would respectfully

request that he be given an additional ninety (90) days, or until

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October 10, 2005, to report to the institution designated by this

court.

Respectfully submitted,

     

AMUEL L. PERKINS 1~
ATTORNEY AT LAw 67 dzc@
147 Jefferson Ave.

Memphis, TN 38103

(901) 523-8832

CERTIFICATE OF SERVICE

I hereby certify that I have served a copy of the foregoing
motion to extend time to report by delivering a copy of the same
to the Stephen P. Hall, Asst. U.S. Attorney, 800 Federal Bldg.,

167 N. Main st., Memphis, Tennessee, this 13th day of July, 2005-
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ATTORNEY AT LAw 45%7 %€

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 65 in
case 2:03-CR-202]2 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

 

 

Samuel L. Perkins

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Honorable Bernice Donald
US DISTRICT COURT

